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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                  No. 4:04CR00281-05 JLH

MELISSA HORNER                                                                      DEFENDANT


                            AMENDMENT TO THE JUDGMENT

       Melissa Horner entered a plea of guilty to one count of misprison of a felony in violation of

18 U.S.C. § 4, and one count of mail fraud, a violation of 18 U.S.C. § 1341. When she was

sentenced the Court entered a judgment for restitution on Count 1 in the total amount of

$355,190.50. The Court did not decide the amount of restitution for Count 2. Instead, this Court

established a schedule by which the victim under the Mandatory Victims Restitution Act and the

defendant could submit information and briefs pertaining to the restitution on Count 2. The briefs

and additional information have now been submitted.

       The mail fraud that was the subject of Count 2 involved an embezzlement scheme by which

Horner embezzled from her employer, Freedom Financial Services of Arkansas, Inc. Freedom

Financial Services of Arkansas, Inc., is defunct. The sole owner of that entity was Nelson Miller.

Miller was charged in the superseding indictment in this case and has been convicted on all sixteen

counts. He now awaits sentencing. He has argued that he is the victim of Horner’s embezzlement

because all of the profits of Freedom Financial Services of Arkansas, Inc., belonged to him. The

Court has accepted Miller’s argument.

       Horner has repeatedly testified that she did not know how much money she embezzled from

Freedom Financial over the years that she was employed there. Her plea agreement stipulated that
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the amount of restitution would not exceed $153,000. At sentencing, Horner and the government

argued that restitution should be in the amount of $109,000, which represented the amount shown

in an exhibit introduced by Miller at his trial introduced as a part of his defense that he did not

conspire with Horner and others as alleged in the superseding indictment. The government and

Horner’s counsel construed that exhibit to be a stipulation that the amount embezzled was

approximately $109,000. Miller has objected that he did not so stipulate. The Court agrees with

Miller that he never stipulated that Horner embezzled no more than the amount shown in the exhibit.

       Miller has now provided the Court with evidence to show that the amount embezzled was

$153,577.49. Horner has introduced no contrary evidence. She says in her argument that she relied

on the exhibit in coming to the amount of restitution, but that is not quite accurate. The Court

accepted the amount of $109,000 as shown in the exhibit for purposes of calculating her sentencing

guideline range and did so with the consent of the government, but Horner was not led to believe that

restitution would be no more than $109,000. It was clear at her sentencing hearing that the amount

of restitution would be determined after Miller and she had had an opportunity to present further

evidence.

       Although Miller has provided checks showing the amount of embezzlement to be

$153,577.49, the plea agreement stipulated that the amount of restitution would not exceed

$153,000. Horner did rely on the plea agreement and was entitled to do so. Therefore, the amount

of restitution owed by Horner to Miller will be set at $153,000.

                                         CONCLUSION

       For the reasons stated above, Melissa Horner must pay restitution on Count 2 in the amount

of $153,000 to Nelson Miller. The interest requirement for the restitution is waived.


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IT IS SO ORDERED this 3d day of April, 2008.




                                        J. LEON HOLMES
                                        UNITED STATES DISTRICT JUDGE




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